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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


                                         x
    In re PAYMENT CARD INTERCHANGE       :   MDL No. 1720(MKB)(JAM)
    FEE AND MERCHANT DISCOUNT            :
    ANTITRUST LITIGATION                 :   Civil No. 05-5075(MKB)(JAM)
                                         :
                                         :   JOINT STIPULATION BETWEEN RULE
                                         :   23(b)(3) CLASS COUNSEL AND MILBERG
    This Document Relates To:                COLEMAN BRYSON PHILLIPS
                                         :
                                         :   GROSSMAN, PLLC REGARDING COST
             ALL ACTIONS.
                                         :   PAYMENT TO CLASS ADMINISTRATOR
                                         x   EPIQ




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             WHEREAS Rule 23(b)(3) Class Counsel (“Class Counsel”) filed status reports with the

    Court which addressed, among other issues, the law firm of Milberg Coleman Bryson Phillips

    Grossman, PLLC (“Milberg”). See, e.g., ECF 9340;

             WHEREAS, on June 6, 2024, Class Counsel and Milberg filed a Joint Status Report. ECF

    9318;

             WHEREAS, on June 7, 2024, the Court issued an Order requiring further briefing. Text-

    Only Order;

             WHEREAS, on June 17, 2024, Milberg filed its response to the Court’s Order. ECF 9328;

             WHEREAS, on June 24, 2024, Class Counsel filed its response. ECF 9332;

             WHEREAS, on June 28, 2024, the Court issued an Order scheduling a conference for July

    22, 2024 to discuss the issues regarding Milberg and set forth a briefing schedule. Text-Only Order;

             WHEREAS, pursuant to the June 28, 2024 Text-Only Order, on July 10, 2024, Class Counsel

    filed a letter with the Court setting forth case law on the Court’s authority to assess costs against a

    non-party. ECF 9348;

             WHEREAS, Milberg’s response letter is due July 17, 2024; and

             WHEREAS, Milberg has agreed to pay $25,000 to Class Administrator Epiq, to cover Epiq’s

    costs incurred in handling fake proofs of authority submitted by Milberg and to cooperate fully in

    any law enforcement investigation related Ms. Laverne Hallak.

             Class Counsel and Milberg agree and stipulate to the following:
             1.         Milberg has agreed to pay to Epiq $25,000, the total estimated costs incurred by Epiq

    in handling fake proofs of authority submitted to Epiq by Milberg. This payment shall be made to

    Epiq within 10 business days.

             2.         Milberg agrees that a referral to law enforcement is to occur related to Ms. Laverne

    Hallak, its previous referral partner. Class Counsel will contact the U.S. Attorney’s office in San

    Diego, the county in which Ms. Hallak is believed to reside. Milberg agrees to cooperate fully in

    any investigation that may occur.
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             3.         Class Counsel and Milberg agree that, in light of the foregoing agreement, sanctions

    against the Milberg firm are no longer necessary and the July 22, 2024 status conference is no longer

    necessary, but the Parties leave the decision to the Court’s sound discretion.

             SO STIPULATED.
    DATED: July 12, 2024                              ROBBINS GELLER RUDMAN
                                                       & DOWD LLP
                                                      PATRICK J. COUGHLIN
                                                      ALEXANDRA S. BERNAY


                                                                    s/ Alexandra S. Bernay
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                                                      Co-Lead Counsel for Plaintiffs




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    Dated: July 12, 2024               MILBERG COLEMAN BRYSON
                                        PHILLIPS GROSSMAN, LLC
                                       GARY M. KLINGER



                                                      s/ Gary M. Klinger
                                                     GARY M. KLINGER
                                                   [signed with permission]

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